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                                                      May 13, 2016
 VIA ECF
 Hon. Joseph F. Bianco
 United States District Court Judge
 United States District Court for the Eastern District of New York
 100 Federal Plaza, Courtroom 920
 Central Islip, NY 11722

                 Re:    Finkel v. Zizza & Associates Corp. et al.
                        Case No. 12-cv-4108-JFB-GRB

 Dear Judge Bianco:

        As Your Honor knows, we represent defendants Zizza & Associates Corp. (“Zizza
 Associates”), Bergen Cove Realty, Inc. (“Bergen”) and Salvatore J. Zizza (“Mr. Zizza,” and with
 Zizza Associates and Bergen, “Defendants”) in the above-referenced action (the “Action).

        On December 21, 2015, the Court denied Plaintiff’s and Defendants’ motions for
 summary judgment (the “SJ Order”). On April 28, 2016, the Court denied Defendants’ motion
 for reconsideration relating to a single issue decided in the SJ Order (the “Reconsideration
 Order,” and with the SJ Order, the “Orders”).

        Pursuant to 28 U.S.C. § 1292(b), Defendants respectfully request that the Court certify
 the Orders for interlocutory appeal because (i) the Orders involve controlling questions of law as
 to which there is substantial ground for difference of opinion, and (ii) an immediate appeal from
 the Orders will materially advance the ultimate termination of this litigation. 28 U.S.C. §1292(b).

          The following four issues are appropriate for immediate appellate review:

          1.     Whether Plaintiff asserted a claim for controlled group liability against Bergen in
                 this case.

          2.     Whether Zizza Associates and Bergen allegedly evaded or avoided ERISA
                 withdrawal liability or merely a judgment.

          3.     Whether Bergen engaged in any “transaction” to evade or avoid withdrawal




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                 liability under 29 U.S.C. § 1392.

          4.     Whether Ret. Plan of the Unite Here Nat’l Ret. Fund v. Kombassan Holdings, 629
                 F.3d 282 (2d Cir. 2010) (“Kombassan”) governs the alter-ego analysis in this
                 case.1

         A court may certify an order for interlocutory appeal under 28 U.S.C. § 1292(b) where (i)
 the order presented for certification involves a controlling question of law, (ii) there is a
 substantial ground for difference of opinion regarding the controlling question of law, and (iii)
 the immediate appeal may materially advance the ultimate termination of the litigation. Laurent
 v. Pricewaterhousecoopers LLP, 2014 WL 251986, *1-2 (S.D.N.Y. Jan. 22, 2014); Rep. of
 Colombia, 619 F. Supp. 2d at 9; New York Racing Ass’n, Inc. v. Perlmutter Pub., Inc., 959 F.
 Supp. 578, 583 (N.D.N.Y. 1997). Courts place particular weight on the third factor. Capitol
 Records, LLC v. Vimeo, LLC, 972 F. Supp. 2d 537, 551 (S.D.N.Y. 2013); Rep. of Colombia, 619
 F. Supp. 2d at 9 (“Some courts primarily consider efficiency in determining whether to certify an
 order for interlocutory appeal”).

         This Court has “broad discretion to determine whether to certify an order for
 interlocutory review.” Laurent, 2014 WL 251986, *1.

     I.   Controlling Questions of Law

        Each of the above four issues is a pure question of law that the Second Circuit can decide
 quickly and cleanly with minimal, if any, reference to the record. Capitol Records, LLC, 972 F.
 Supp. 2d at 551. Indeed, the facts relating to the four issues are undisputed. Thus, these four
 questions are appropriate for immediate appellate review. Laurent, 2014 WL 251986, *1 (finding
 that order from which interlocutory appeal was sought made a “quintessentially legal
 determination” in interpreting a provision of ERISA); Capitol Records, LLC, 972 F. Supp. 2d at
 551 (“controlling question of law” factor satisfied where the issue turned almost exclusively on a
 question of statutory interpretation and therefore reviewing court could decide it quickly and
 cleanly without having to study the record).

        The four issues are not only pure questions of law, but they are also “controlling.” The
 Second Circuit has recognized that resolution of an issue need not necessarily terminate an action
 in order to be “controlling” for purposes of 28 U.S.C. § 1292(b). Fed. Housing Fin. Agency v.
 UBS Americas, Inc., 858 F. Supp. 2d 306, 337 (S.D.N.Y. 2012); New York Racing Ass’n, Inc.,


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   This Court need not find that the requirements of 28 U.S.C. § 1292(b) have been met for each of these
 issues. Rep. of Colombia v. Diageo North Am. Inc., 619 F. Supp. 2d 7, 10 n.1 (E.D.N.Y. 2007). Rather,
 once this Court determines that a single issue addressed in the Orders satisfies 28 U.S.C. § 1292(b), the
 Court has the discretion to certify the Orders for immediate appeal. Id. Once the Orders are certified for
 immediate appeal, the Second Circuit is free to consider any issue raised in the Orders if it accepts the
 appeal. Id.



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 959 F. Supp. at 583.2 Rather, “[i]t only has to be an issue that could materially affect the
 outcome of the case.” New York Racing Ass’n, Inc., 959 F. Supp. at 583. See Fed. Housing Fin.
 Agency, 858 F. Supp. 2d at 337 (“Rather, it is enough to satisfy the statute’s first prong that the
 issue is one ‘that may importantly affect the conduct of [the] action’”). That being said, the
 resolution of these issues will in our view terminate the Action.

         As discussed in more detail below, resolution of these issues would clearly materially
 affect the outcome of the case. A finding for Defendants on the first issue would eliminate one
 claim from the case and deprive the Court of subject matter jurisdiction. A finding for
 Defendants on the second or third issues would eliminate additional causes of action from the
 case. A finding for Defendants on the fourth issue would prevent the parties from trying this
 case under the wrong legal standard, and would likely result in the elimination of another two
 claims after renewed motions for summary judgment. Thus, not only do these issues materially
 affect the outcome of this case, but reversal may terminate the action due to the absence of
 subject matter jurisdiction. Fed. Housing Fin. Agency, 858 F. Supp. 2d at 338 (finding question
 of law to be “controlling” where the appeal might significantly narrow the proof that the parties
 would be able to present at trial, saving the parties and the public time and money); New York
 Racing Ass’n, Inc., 959 F. Supp. at 583 (certifying order for interlocutory appeal where the
 relevant issues were central to the court’s analysis and materially affected the outcome of the
 case).

        In sum, these issues involve controlling questions of law and therefore the first
 requirement of 28 U.S.C. § 1292(b) is satisfied.

     II.   Substantial Ground for Difference of Opinion

         The second requirement of 28 U.S.C. § 1292(b) is satisfied here because there is
 conflicting authority on these issues and/or these issues are particularly difficult and of first
 impression for the Second Circuit. Capitol Records, LLC, 972 F. Supp. 2d at 551.

                A. Whether Plaintiff asserted a claim for controlled group liability against
                   Bergen in this case.

         With regard to the first issue, we refer the Court to Defendants’ memoranda of law in
 support of Defendants’ Motion for Reconsideration (Doc. Nos. 112 and 114). Those briefs fully
 demonstrate that Plaintiff never asserted a claim for controlled group liability against Bergen and
 that Plaintiff’s attempt to add that claim through his summary judgment papers was improper.
 We will not unnecessarily burden the Court by repeating the arguments and authorities addressed
 in those briefs. Simply put, Plaintiff knew how to assert a controlled group liability claim, did so
 in the past, and did not do so in this Action.

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   On the flip side, a question of law is certainly “controlling” if reversal of the district court’s order would
 terminate the action. Laurent, 2014 WL 251986, *1.




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         In the Reconsideration Order, the Court cited I.L.G.W.U. Nat’l Ret. Fund v. ESI Group,
 Inc., 2002 WL 999303 (S.D.N.Y. May 15, 2002) (“ESI”) as supporting that Plaintiff asserted a
 claim for controlled group liability against Bergen in this case. The Court stated that this
 decision holds that “controlled group liability is a subset of withdrawal liability.” Tr. 3:21–4:3.
 We respectfully disagree.3

         ESI did not concern whether a plaintiff had pled a controlled group theory in its
 complaint. Indeed, there is no suggestion in the decision that the defendant challenged whether
 that claim existed in the case and it appears that all parties agreed that claim was part of the case.
 Instead, the issues in ESI were (i) whether certain entities were under “common control” under
 the relevant treasury regulations, and (ii) whether, for purposes of the timeliness of initiating
 arbitration, notice to one member of a controlled group is notice to members who claim to have
 severed their relationship with the controlled group prior to the time of notice. ESI does not hold
 that any lawsuit involving withdrawal liability automatically includes a claim for controlled
 group liability, and it does not support that Plaintiff asserted a claim for controlled group liability
 against Bergen in this case.

                B. Whether Zizza Associates and Bergen allegedly evaded or avoided ERISA
                   withdrawal liability or merely a judgment.

         With regard to the second issue, the Supreme Court’s decision in Peacock v. Thomas, 516
 U.S. 349 (1996) is on point. In Peacock, a plaintiff that had obtained an ERISA judgment in
 federal court against his former employer for benefits due under the employer’s pension benefits
 plan filed a second lawsuit in federal court, purportedly under ERISA, claiming that a
 shareholder and officer of the former employer was personally liable (i) for siphoning and
 fraudulently conveying assets from the employer to prevent satisfaction of the ERISA judgment,
 and (ii) under a veil-piercing theory. Plaintiff filed the second lawsuit after he had been
 unsuccessful in collecting on the ERISA judgment from the former employer. The Supreme
 Court held that the federal court did not have subject matter jurisdiction over the lawsuit for three
 main reasons:

        First, the Supreme Court rejected plaintiff’s suggestion that the lawsuit arose under
 ERISA: the lawsuit did not arise under ERISA because it alleged no violation of ERISA or of
 the plan. Peacock, 516 U.S. at 353. Indeed, the wrongdoing alleged in the complaint occurred
 some four to five years after the employer’s ERISA plan was terminated, and the plaintiff
 conceded that the defendant’s alleged wrongdoing did not occur with respect to the
 administration or operation of the plan. Id.



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   We also respectfully disagree with the Reconsideration Order to the extent that it found that (i)
 Defendants were on notice that a controlled group theory potentially existed (Tr. 3:20-21), (ii) the prayer
 for relief in the Second Amended Complaint can be said to include a controlled group claim (Tr. 4:16-23),
 and (iii) interrogatories or deposition questions have any relevance (Tr. 4:24–5:10).



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         Second, the Supreme Court observed that there is no “provision of ERISA that provides
 for imposing liability for an extant ERISA judgment against a third party.” Id. (emphasis
 added) (citing Mackey v. Lanier Collection Agency & Service, Inc., 486 U.S. 825, 833 (1988)
 (“ERISA does not provide an enforcement mechanism for collecting judgments…”)). Consistent
 with that principle, the Supreme Court held that “[p]iercing the corporate veil is not itself an
 independent ERISA cause of action, but rather is a means of imposing liability on an underlying
 cause of action.” Id. at 354 (internal quotations omitted). Thus, “[e]ven if ERISA permits a
 plaintiff to pierce the corporate veil to reach a defendant not otherwise subject to suit under
 ERISA, [plaintiff] could invoke the jurisdiction of the federal courts only by independently
 alleging a violation of an ERISA provision or term of the plan.” Id.

         Third, the Supreme Court held that federal courts do not possess ancillary jurisdiction
 over new actions in which a federal judgment creditor seeks to impose liability for a money
 judgment on a person not otherwise liable for the judgment. Id. at 351. See id. at 357 (“We have
 never authorized the exercise of ancillary jurisdiction in a subsequent lawsuit to impose an
 obligation to pay an existing federal judgment on a person not already liable for that
 judgment”).4

         Peacock is consistent with the proposition that Defendants argued in their motion to
 dismiss and motion for summary judgment: that the prior judgment against Primary Capital
 Resources, Inc., Zizza & Company, Ltd. (“Zizza Company”) and Hall-Mark Electrical Supplies
 Corp. (“Hall-Mark”) (the “Prior Judgment”) is merely a “judgment” and not withdrawal liability
 for ERISA purposes. We are aware of no Second Circuit decision interpreting Peacock
 differently. On the contrary, the Second Circuit has confirmed that ERISA does not create
 federal law on veil-piercing or on the enforcement of judgments generally. Romney v. Lin, 105
 F.3d 806, 811 (2d Cir. 1997).

        The Second Circuit has also interpreted Peacock as having “rejected the notion that
 wrongdoing that occurs after an ERISA plan has been properly terminated can give rise to a
 claim under § 502(a)(3).” Carlson v. Principal Fin. Group, 320 F.3d 301, 308 (2d Cir. 2003).

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   Two courts in the Second Circuit applying the holding of Peacock are: Romita v. Anchor Tank Lines,
 LLC, 2013 WL 432903, *3 (S.D.N.Y. Feb. 1, 2013) (plaintiffs previously obtained a judgment against
 predecessor entities of defendants and brought suit under ERISA claiming that defendants were liable for
 the judgment obtained against the predecessor entities; court granted a motion to dismiss for lack of
 subject matter jurisdiction on the grounds that (i) ERISA did not provide the court with jurisdiction to
 impose liability for an extant ERISA judgment against a third party; (ii) plaintiffs failed to allege that
 defendants committed any independent violation of ERISA or the terms of the employee benefit plan; and
 (ii) ancillary jurisdiction was improper because the lawsuit sought to impose an obligation to pay an
 existing federal judgment on defendants, who were not already liable for that judgment); Gesualdi v.
 Danielle Rigging, Inc., 2011 WL 2516521, *2 (E.D.N.Y. June 23, 2011) (plaintiff brought successor and
 alter-ego claims under ERISA to enforce a previously obtained judgment against the defendant’s alleged
 predecessor; court held that Peacock applied and dismissed the claim for lack of subject matter
 jurisdiction).



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 See Plaintiff’s Second Amended Complaint, ¶¶ 2, 7, 61, 66 (specifying § 502(a)(3) as Plaintiff’s
 bases for jurisdiction and authority to bring the evade and avoid claims).

         Nor does the fact that Peacock dealt with an alter ego claim – as opposed to an
 evade/avoid claim – matter. Peacock would have no teeth if a plaintiff could circumvent that
 ruling by simply characterizing its complaint as one for evade or avoid liability. Indeed, that is
 precisely what Plaintiff has done here. At bottom, Plaintiff’s alter ego claims and evade/avoid
 claims are both efforts to collect the Prior Judgment. But the Supreme Court has held that there
 is no provision of ERISA that provides for imposing liability for an extant ERISA judgment
 against a third party. We are confident that the Second Circuit would find Plaintiff’s
 evade/avoid claims to be an improper attempt to turn 29 U.S.C. § 1392 into the collection
 mechanism for which ERISA does not provide. I.L.G.W.U. Nat. Ret. Fund v. Meredith Grey,
 Inc., 190 F.R.D. 324, 328 (S.D.N.Y. 1999) (“The ‘evade or avoid’ provision, 29 U.S.C. §
 1392(c), does not, in and of itself, create a cause of action”).

        We respectfully submit that the SJ Order expanded ERISA far beyond that intended by
 Congress. Even if this Court disagrees with Defendants, it is important that the Second Circuit
 be given an opportunity to weigh in on such an important issue. Capitol Records, LLC, 972 F.
 Supp. 2d at 553 (granting certification where resolution of the issue would have far-reaching
 implications).

                C. Whether Bergen engaged in any “transaction” to evade or avoid withdrawal
                   liability under 29 U.S.C. § 1392.

         As for the third issue, it is clear that, with regard to Bergen, Plaintiff cannot identify any
 “transaction” that seeks to evade or avoid ERISA withdrawal liability. The facts and law as set
 forth in Defendants’ briefs on the summary judgment motions makes that clear (Doc. Nos. 87,
 98, 103). The only possible “transactions” identified by Plaintiff are that Mr. Zizza (i) caused
 improper expense payments to be made by Zizza Company, and (ii) “redirected” fee income
 from BAM to Zizza Associates to Zizza Company’s detriment. Even assuming the truth of these
 allegations, they completely fail to raise any issue of fact as against Bergen. Nor did this Court
 in the SJ Order identify any transaction involving Bergen. Tr. 11:22–12:24, 13:15–23, 20:7-22,
 21:24–22:24. The fact that Bergen is conducting business, in and of itself, is not a “transaction”
 for purposes of 29 U.S.C. § 1392. It is clear that assets need to be transferred. See LoPresti v.
 Pace Press Inc., 2011 WL 2150458, *3 (S.D.N.Y. May 31, 2011) (“Accordingly, any assets that
 were transferred in order to ‘evade or avoid liability,’ as well as the parties to whom they were
 improperly transferred, must be within the reach of [29 U.S.C. § 1392(c)]”) (internal quotations
 omitted) (emphasis added) (quoting IUE AFL-CIO Pension Fund v. Herrmann, 9 F.3d 1049,
 1056 (2d Cir. 1993)).

                D. Whether Kombassan governs the alter-ego analysis in this case.

      With regard to the fourth issue, it is likely that the Second Circuit would find that
 Kombassan does not govern the alter-ego analysis here. Kombassan is used to determine



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 whether a third party is the alter ego of the employer obligated to make contributions to the
 plan or fund. “One effect of the alter ego doctrine is to ‘provide [] an analytical hook to bind a
 non-signatory to a collective bargaining agreement.” Kombassan, 629 F.3d at 288 (emphasis
 added). See Lihli Fashions Corp., Inc. v. N.L.R.B., 80 F.3d 743, 747 (2d Cir. 1996) (“If two
 companies are deemed alter egos of each other, then each is bound by the collective bargaining
 agreements signed by the other”).

          Here, Plaintiff is not seeking to bind Bergen or Zizza Associates to any collective
 bargaining agreement, nor find that either is the alter ego of Hall-Mark. We are aware of no
 decision by the Second Circuit applying Kombassan this broadly. In fact, the Second Circuit has
 cautioned against extending alter ego liability in the ERISA context too far. See Burke v.
 Hamilton Equip. Installers, Inc., 2006 WL 3831380, *11 (W.D.N.Y. Oct. 16, 2006) (“Plaintiffs
 argue that Professional should be held liable because it is somehow responsible for the
 obligations of Equipment, the alter ego [of the contributing employer]. However, plaintiffs have
 failed to cite any cases (nor has this Court’s research uncovered any cases) where an entity was
 held liable for the pension contributions of the alter ego.”), aff’d 528 F.3d 108 (2d Cir. 2008)
 (“Other than familial relationships among the principals of the firms, Professional has no
 connection to Installers’ [the contributing employer] ERISA liability or to the circumstances
 surrounding the founding of Equipment [an entity created in part to avoid Installers’ obligations
 under the CBA]…Professional therefore had nothing to do with Installers’ incurring ERISA
 liability or with Equipment’s creation as Installers’ alter ego.”).

         In sum, there is substantial ground for difference of opinion regarding these issues, and
 therefore the second requirement of 28 U.S.C. § 1292(b) is satisfied. Fed. Housing Fin. Agency,
 858 F. Supp. 2d at 338 (granting certification even though there were only “weak” grounds for a
 difference of opinion); New York Racing Ass’n, Inc., 959 F. Supp. at 583 (certifying order for
 interlocutory appeal where there was “clearly room for difference of opinion” on the issues
 presented).

 III.     Materially Advance the Ultimate Termination of the Litigation

         There is no question that an immediate appeal will materially advance the ultimate
 termination of this case. As discussed above, a finding for Defendants on the first, second and/or
 third issues would eliminate certain causes of action from this case. A finding for Defendants on
 the fourth issue would prevent the parties from trying this case under the wrong legal standard,
 and would likely result in the elimination of another two claims after renewed motions for
 summary judgment. Thus, the time and expense of trial will be dramatically reduced.

         What is more, a finding for Defendants on the first issue will terminate this Action
 completely because the Court will not have subject matter jurisdiction under Peacock. It is well-
 settled that the Court must consider the issue of subject matter jurisdiction at this stage of the
 proceedings. “Issues relating to subject matter jurisdiction may be raised at any time, even on
 appeal, and even by the court sua sponte. If a court perceives at any stage of the proceedings
 that it lacks subject matter jurisdiction, then it must take proper notice of the defect by



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 dismissing the action.” Cave v. East Meadow Union Free School Dist., 514 F.3d 240, 250 (2d
 Cir. 2008) (citing Liberty Mut. Ins. Co. v. Wetzel, 424 U.S. 737, 740 (1976)) (internal citation
 omitted). Indeed, the Supreme Court has “noted the existence of an ‘inflexible’ rule that
 ‘without exception’ requires federal courts, on their own motion, to determine if jurisdiction is
 lacking.” Id. (citing Mansfield, Coldwater & Lake Michigan Railway Co. v. Swan, 111 U.S. 379
 (1884)). See Fed. R. Civ. P. 12(h)(3) (“If the court determines at any time that it lacks subject-
 matter jurisdiction, the court must dismiss the action”) (emphasis added).

          As in Peacock, (i) Plaintiff filed a previous lawsuit arising under ERISA and obtained a
 judgment against employers who had failed to make contributions to an employee benefit plan;
 (ii) when Plaintiff was unable to collect on that judgment, he filed this lawsuit seeking to impose
 the obligation to pay the earlier judgment on three parties not already liable for that judgment;
 (iii) Plaintiff’s Second Amended Complaint does not allege any independent violation of ERISA
 or of the plan; and (iv) this lawsuit is founded not only upon different facts than the prior ERISA
 suit, but also upon entirely new theories of liability. Furthermore, like in Peacock, the
 wrongdoing alleged in the Second Amended Complaint occurred after (i) Hall-Mark ceased
 operations and withdrew from the fund, (ii) Hall-Mark failed to remit payment for its alleged
 withdrawal liability, and (iii) judgment was entered in the prior action. At bottom, “[o]ther than
 the existence of the ERISA judgment itself, this suit has little connection to the ERISA case.
 This is a new action based on theories of relief that did not exist, and could not have existed, at
 the time the court entered judgment in the ERISA case.” Peacock, 516 U.S. at 359. Thus, a
 finding for Defendants on the first issue requires dismissal of this Action.

        Moreover, even if Defendants are unsuccessful on appeal, that will still materially
 advance this case. Fed. Housing Fin. Agency, 858 F. Supp. 2d at 338 (finding that, even if the
 Second Circuit affirmed, an immediate appeal would still materially advance the ultimate
 termination of the litigation because such a decision “is likely to significantly affect the parties’
 bargaining positions and may hasten the termination of this litigation through settlement”).

          Finally, an immediate appeal will not delay this Action. The Court indicated during the
 December 21, 2015 telephone conference that it does not expect this matter to proceed to trial
 until late 2016, given the Court’s calendar. Nor can Plaintiff claim that it is prejudiced or that it
 needs to get to trial quickly. As demonstrated in Defendants’ letter, filed March 23, 2016 (Doc.
 No. 116), Plaintiff’s counsel has made no effort to move this Action along. His delays in
 preparing the joint pretrial order have led to multiple adjournments of the date for submission of
 that document. Moreover, Defendants will seek expedited review in the Second Circuit. Fed.
 Housing Fin. Agency, 858 F. Supp. 2d at 340-341.

        In sum, Defendants respectfully request that the Court certify the Orders for immediate
 appeal. As the Court knows, Defendants repeatedly have respectfully disagreed with the Court’s
 view of the controlling law applicable to this Action. As the Court also knows, this is not the
 usual ERISA case where a Union sues an employer, leaving deep pockets on both sides. In our
 view, §1292(b) certification is the most efficient means of advancing and disposing of this case.




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          We thank the Court in advance for its consideration.


                                                      Respectfully,

                                                      s/ Ira S. Sacks

                                                      Ira S. Sacks
 cc:      David R. Hock, Esq. (by email)




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